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United States Courts
Southern District of Texas
FILED

OCT 21 2019

David J. Bradley, Clerk of Court

October 21, 2019

Notice of Intent To Appear

Monique Joseph
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Missour! City, TX 77489
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Chief Judge Rosenthal
Chief United States District Judge
515 Rusk Street, Roam 11535 Houston, Texas 77002

Dear Chief Judge Rosenthal,

lam an intern with Drew Wiley Law and 1am writir 3 to inform you of my intent to

appear and speak on October 28°", 2019 for the Misc ameanor Bail Settlement
case 4:16-cv-Ol1414.

Thank you for your time,

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Monique Joseph.
